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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
In re:

JUAN JOSE PEREZ MIER                                                    CASE NO. 20-13622-RAM
AKA JUAN PEREZ MIER                                                     CHAPTER 13
AKA JUAN J PEREZ MIER
AKA JUAN JOSE PEREZ
AKA JUAN PEREZ
AKA JUAN J PEREZ
                  Debtor.
_______________________________/

                 RESPONSE TO DEBTOR’S MOTION TO VALUE AND
           DETERMINE SECURED STATUS OF LIEN ON PERSONAL PROPERTY

           Creditor, Nissan Motor Acceptance Corporation, responds to Debtor’s Motion to

Determine Secured Status of Lien on Personal Property (Doc. No. 17) (“Debtor’s Motion”) and

states:

          1.     Creditor is the lienholder on the title to the following vehicle:

                                       2016 Nissan Rogue 2WD;
                                VIN: KNMAT2MTXGP639449 (“Vehicle”)

           2.    Creditor filed Proof of Claim 3-1 in the total amount of $17,599.15.

           3.    Debtor’s Motion proposes to value Creditor’s secured claim on the Vehicle to

10,000.13, pursuant to 11 U.S.C. §506.

           4.    Creditor believes the replacement value of the Vehicle is higher than stated in the

Plan, specifically $13,725.00, pursuant to the N.A.D.A. Official Used Car Guide attached hereto

as Exhibit “A” and the Court’s reasoning in In re Hauser, 405 BR 684 (Bankr. S.D. Fla. 2009)

(Olson, J.) and In re Ortiz, 2007 WL 1176019 (Bankr. S.D. Fla. 2007) (Ray, J.).

           5.    Notwithstanding the above, if an agreement cannot be reached amicably between

the parties as to the value of the Vehicle, Creditor will conduct an appraisal of the Vehicle prior to

an evidentiary hearing on Debtor’s Motion.
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       WHEREFORE, Creditor, respectfully requests the Court deny Debtor’s Motion and for

such other and further relief as the Court deems appropriate.

                                                              /s/ Gavin N. Stewart
                                                              Gavin N. Stewart, Esquire
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                                                              Counsel for Creditor

                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served via CM/ECF notice and

first-class mail to the parties below this 6th day of May 2020.

                                                              /s/ Gavin N. Stewart
                                                              Gavin N. Stewart, Esquire

VIA FIRST CLASS MAIL
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VIA CM/ECF NOTICE
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